8:09-cr-00092-LSC-FG3     Doc # 79     Filed: 04/30/10    Page 1 of 1 - Page ID # 500




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )             CASE NO. 8:09CR92
                                           )
           Plaintiff,                      )
                                           )
           vs.                             )                    ORDER
                                           )
RICARDO A. FERNANDEZ,                      )
                                           )
           Defendant.                      )

     IT IS ORDERED:

     1.    The previous order for noncustodial transportation (Filing No. 75) is vacated;

           and

     2.    The Clerk is directed to provide a copy of this order to the U.S. Marshal.

     DATED this 30th day of April, 2010.

                                       BY THE COURT:


                                       s/Laurie Smith Camp
                                       United States District Judge
